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CAUSE NG, BC-11-07143 t

ROKY OPERATING, LLC AND 8 IN THE DISTRICT COURT OF |
TEXAS ALLIED PETROLEUM, INC. §
§ DALLAS COUNTY, TEXAS

vs. § i
§ :
DAVID FREEMAN §  L-193RD JUDICIAL DISTRICT

PLAINTIFES’ ORIGINAL PETITION AND
REQUEST FOR DISCLOSURE

COME NOW, Roky Operating, LLC and Texas Allied Petroleum, Inc., Plaintiffs in the
above-styled and numbered cause of action, complaining of Defendant, David Freeman, and in
support thereof would show unto this Honorable Court the following:

I. DISCOVERY CONTROL PLAN

1.1 Pursuant to Texas Rule of Civil Procedure 190.3 the discovery of this case is to be
conducted under Level 2 Discovery Control Plan.

TL. PARTIES

2.1 Plaintiff, Roky Operating, LLC (“Roky”) is a Texas limited lability company
with its principal office located in Dallas, Texas. i

2.2 Plaintiff, Texas Allied Petroleum, Inc. (“TAP”) is a Texas corporation with its
principal office located in Austin, Texas. |

2.3 Defendant, David Freeman (“Defendant”) is a resident of Covington,
Plaquemines Parish, Louisiana, and conducts business in Covington, Louisiana. Pursuant to
TRCP 108, Defendant may be served with process by delivering by registered or certified mail,
return receipt requested, a true copy of the citation and petition to his address located at 139 N.
Theard Street, Covington, Louisiana 70433.

i. JURISDICTION and VENUE .

3.1 This Court has jurisdiction in this cause since the damages and relief sought by

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Plaintiff are within the jurisdiction of this Court. Further, pursuant to TSX. Civ. PRAC. & REM,
Cope §17.042, this Court has personal jurisdiction over Defendant, as Defendant has corumitted
the tortious acts detailed below in whole or in part in this state,

3.2 ‘Venue is proper in Dallas County pursuant to TEX. Crv. Prac, & REM. CopDE
§15.002(a)(1) as all or a substantial part of Defendant's actions giving rise to this suit oceurred in
Dallas County; and alternatively, Tex. Crv, PRAC, & REM. Copg §15.002(a)4).

TV. FACTS
A. The Subject Contracts

4.1 By virtue of separate, but virtually identical, Participation Agreements (“PAs”),
Plaintiffs contracted with Poydras Energy Partners, LLC (“Poydras”) to obtain working interests
in sixteen oil and gas wells and one saltwater disposal well located in Louisiana associated with
what the parties call the “Main Pass 35 Platform.” Poydras was the Operator of the subject
wells and Main Pass 35 Platform. Of the sixteen wells, only eight were producing when
Hurricane Katrina hit Louisiana and damaged the Main Pass Platform. Pursuant to the PAs,
Plaintiffs and Poydras intended to commence repairs to the Main Pass 35 Platform and well
recompletion operations to get the eight wells back online and producing for the benefit of the
joint account, with the goal to reenter and recomplete the other eight wells at a later date.

42 Under Roky’s PA effective January 17, 2008, Roky acquired forty percent (40%)
of the working interest in the subject wells and the Main Pass 35 Platform in exchenge for the
payment of $2,500,000.00.

4.3 TAP acquired its interest through another company, Hayhurst Investments, Ltd.
(“Hayhurst”), who executed its Participation Agreement with Poydras effective January 24,
2008. Through a subsequent Assignment of Interests, TAP acquired Hayhurst’s working

interest in the wells and assumed its obligations under its PA. TAP currently owns ten percent

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(10%) of the working interest in the subject wells and the Main Pass 35 Platform.

44 In conjunction with the PAs, the Plaintiffs and Poydras entered into a Joint
Operating Agreement (“JOA”) for the subject wells. The PAs and JOA together govern the
Plaintiffs’ contractual relationship with Poydras with respect to the subject wells and Main Pass
35 Platform.

B. Defendant’s Interference with the PAs and JOAs

4.5 Defendant has repeatedly interfered with Plaintiffs’ contractual rights under the
PAs and JOA through his unlawful claim to ownership of Poydras, Specifically, third parties,
Shannon Terry (“Terry”) and DDD Energy, LLC (“DDD”) are the majority owners and
managing members of Poydras. Freeman owns a minority interest in Poydras, but has
nevertheless, usurped control of Poydras from Terry and DDD effectively locking them out from
operating the subject wells and Main Pass 35 Platform. In doing so, Defendant has caused
Poydras to breach its obligations under the PAs and JOA causing damage to Plaintiffs’ interests.

4.6 For instance, Defendant has caused significant delay in the completion of repairs
to the subject wells and Main Pass 35 Platform, such that only five of the initial eight wells have
been repaired, and of those five, only three wells are producing. All eight wells are capable of
producing substantial amounts of oil and gas. The oil can be produced and transported to
market via barge. However, the gas cannot be transported to market without a pipeline
connection. Despite availability of existing pipelines in the area, Defendant has refused to
connect the repaired five wells to a pipeline. Instead, Defendant is apparently venting the gas
produced from the three wells to the atmosphere. Thus, not only are Plaintiffs losing the
economic benefit of this vented 2s, they are losing the benefit of production of oil and gas from
the other five wells - two of which are currently shut in for lack of a pipeline connection, and

three of which have not been repaired. Plaintiffs also understand that Defendant’s venting of

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gas may be in violation of applicable mules and regulations applicable to operation of the subject
wells and the Main Pass 35 Platform.

4.7 In addition, the JOA requires Poydras to keep Plaintiffs informed and provide
them access to all books and records of the joint account. Defendant, however, has repeatedly
failed and refused to provide Plaintiffs with information regarding joint finances and operations.
Although 18,000 barrels of oil has reportedly been produced from the three wells mentioned
above through the end of 2010, Defendant has not provided any production reports or joint
revenue reports to Plaintiffs relating to such production.

4.8 Further, as a result of Defendant’s actions, in early January 2011, a joint interest
audit of Poydras’ records was performed by an independent accounting firm, Muslow & Muslow
of Shreveport, Louisiana, pursuant to the COPAS Accounting Procedures contained in the JOA,
The accountants discovered that Poydras’ accounting records were in disarray, and they
determined that $309,697.00 in charges to the joint interest account were improper. Such
impropriety was a direct result of Defendant’s unlawful usurpation of Poydras, and Defendant
has continued to ignore these findings and refused to address these issues in violation of the
JOA.

4.9 In addition, the JOA requires Poydras to keep the Contract Area free and clear of
liens and encumbrances. As a result of Defendant’s actions, a2 number of mineral contractor's
and/or subcontractor’s Hens have been filed which burden the Contract Area and Plaintiffs’
working interests, including a lien in the amount of $305,506.44 owed to Settoon Construction,
Inc. (the “Settoon lien”). In April 2011, Defendant sent a letter to Plaintiffs (purportedly on
behalf of Poydras) demanding payment of their proportionate share of the Settoon lien.
However, under the PAs, Plaintiffs’ respective share of the lien was covered by Plaintiffs’

respective cash payments made to acquire their working interests. In other words, Defendant

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was improperly demanding double payment from Plaintiffs. On May 25, 2011, Defendant sent
another letter to Plaintiffs (again, purportedly on behalf of Poydras) demanding payment of the
Settoon lien, and threatening to declare Plaintiffs in default under the PAs for failure to pay, such
that Plaintiffs would forfeit their interest in the subject wells and Main Pass 35 Platform.

4.10 As a result of Defendant’s interference with their contractual relationship with
Poydras, a majority of the non-operating interest owners in the subject wells, including Plaintiffs,
had no choice but to vote to remove Poydras as Operator and to appoint another interest owner,
Triumph Energy L LLC, as successor operator. Plaintiffs expect Defendant will cause Poydras
to refuse to acknowledge this vote.

¥. CAUSE OF ACTION
A.  TORTIOUS INTERFERENCE WITH EXISTING CONTRACT

5.1‘ Plaintiffs incorporate the factual allegations made in paragraphs 2,1 through 4.10,
above.

5.2 Plaintiffs have valHd contracts with Poydras; namely the PAs and JOA.
Defendant has actual knowledge of Plaintiffs’ contracts with Poydras, and the extent of
Plaintiffs’ interests therein. Defendant has willfully and maliciously interfered with Plaintiffs’
PAs and JOA with Poydras. Specifically, Defendant has unlawfully usurped control of Poydras
and caused Poydras to breach its obligations under the PAs and JOA. Through his unlawful
operation of Poydras, Defendant has caused Poydras to, among other things, (a) fail to complete
its obligations of repairs and recompletions of the subject wells and Main Pass 35 Platform; (6)
fail to connect the subject wells to existing pipelines in order to market the gas production for the
benefit of the joint account; (c) vent gas production to the atmosphere; (d) permit the filing of
liens on the Contract Area that should have been covered by Plaintiffs’ respective payments

made to acquire their working interests; (ec) demand double payment from Plaintiffs for such

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liens; (f threaten to declare Plaintiffs in default and breach of the PAs, and to declare Plaintiffs
have forfeited their interests in the subject wells and Main Pass 35 Platform for failure to make
double payment for the Settoon lien; and (¢) make improper charges against the jomt account in
the amount of $309,697.

5.3  Defendant’s interference with Plaintiffs’ PAs and JOA has proximately caused
Plaintiffs damages equal to: (a) the $309,697 in improper charges to the joint account; (b) lost
profits from gas production vented to the atmosphere; (c) lost profits from gas production for
lack of a pipeline connection; (d) lost profits from oil and gas production for failure to complete
the repairs and recompletions of the subject wells and Main Pass 35 Platform; and (e) additional
actual damages for Plaintiffs’ loss of the benefits of the PAs and JOA.

54 As a result of Defendant’s willful and malicious interference with Plaintiffs’
contracts, Plaintiffs’ seek exemplary damages under TEX. CIv. Prac. & Rem, Cope §41.003.

5.5 Plaintiffs also seek prejudgment and postjudgment interest, and costs of court as
permitted under the law.

B. DECLARATORY JUDGMENT

5.6 Plaintiffs incorporate the factual allegations made in paragraphs 2.1 through 4.10,
above.

5.7 Defendant is wlawfully claiming the authority to act on behalf of Poydras. In
doing so, Defendant is threatening to declare Plaintiffs to be in default under the PAs, to have
breached the PAs, and to have forfeited their interest under the PAs as a result of Defendant’s
unlawful demand for payment of the Settoon lien referenced above. Moreover, Plaintiffs’
respective payments made under the PAs to acquire their working interests in the subject wells
and Main Pass 35 Platform expressly cover work performed by Settoon made the subject of its

lien. As such, Defendant is improperly demanding Plaintiffs make double payment.

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5.8 A justiciable controversy exists as to whether Plaintiffs have already paid their
share of the Settoon lien, and whether Defendant has the authority to act on behalf of Poydras, to
hold Plaintiffs in breach of the PAs, and to enforce Defendant’s claim of forfeiture against
Plaintiffs. Pursuant to Tex. Civ. Prac. & Rem. Cope §37.001, ez seq., Plaintiffs request the
Court enter the following declarations:

(a) Defendant lacks authority to act on behalf of Poydras;

(b) Plaintiffs’ respective payments made under the PAs to acquire their
working interests in the subject wells and Main Pass 35 Platform covers
Plaintiffs’ proportionate shares of the Settoon lien, and therefore,
Defendant’s demand for payment of such lien is improper;

(c} Asa result of declarations (a) and/or (b), Plaintiffs are not in default or in.
breach of the PAs for their refusal to pay the Settoon lien.

5.9 Pursuant to Tex. Crv. Prac. & Rem. Cope §37.001, ef seq., Plaintiffs seek their
reasonable and necessary attorney’s fees and court costs incurred in bringing this declaratory
action.

VL. JURY DEMAND
6.1 Plaintiffs demand a trial by jury. The requisite fee has been paid.
Vi. REQUESTS FOR DISCLOSURE

7.1 Pursuant to Rule 194, request is made that Defendant disclose, within fifty (50)
days of service of this request, the information or material described in Texas Rule of Civil
Procedure 194.2 (a)-(). Defendant must serve a written response to these Requests for

Disclosure on Plaintiffs within fifty (50) days after the service of this request.

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PRAYER
WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendant be cited in
terms of law to appear and answer herein, that upen final trial and hearmg hereof, that the Court
enter the declaratory relief requested herein, that Plaintiffs recover of and from Defendant their
actual damages sought herein, exemplary damages, interest and costs of court, and for such other

further relief, both general and special, both in law and in equity, to which Plaintiffs may be

 

justly entitled.
Respectfully Submitted,
WATT BECK WORTH
THOMPSON BENNEMAN & SULLIVAN, L.L.P.
By: pee
Ben Elmore
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1800 Pennzoil Place, South Tower
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Houston, Texas 77002
Telephone: 713-650-8100
Facsimile: 713-650-8141
ATTORNEYS FOR PLAINTIFFS
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FORM NO. 353-3 - CITATION
THE STATE OF TEXAS

To:
DAVID FREEMAN
139 N THEARD STREET
COVINGTON LA 70433

GREETINGS:

You have been sued, You may employ an attorney. If you or your attorney do not file a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 193rd District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being ROKY OPERATING LLC AND TEXAS ALLIED PETROLEUM INC
Filed in said Court 8th day of June, 2011 against
DAVID FREEMAN

For Suit, said suit being numbered DC-11-07143, the nature of which demand is as follows:
Suit on OTHER (CIVIL) ete. as shown on said petition REQ FOR DISCLOSURE, a copy of which
accompanies this citation. Ef this citation is not served, it shall be returned unexecuted.

WITNESS: GARY FITZSIMMONS, Clerk of the District Courts of Dallas, County Texas.
Given under my name and the Seal of said Court at officethis 9th day of June, 2011.

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te i weg ‘Courts of Dallas, County, Texas

   

ATTEST: GARY FI TZSIMMONS §

  
   

Deputy

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CERT MALL

CITATION

 

 

DC-11-07143

 

ROKY OPERATING LUC ET AL
VS.
DAVID FREEMAN

ISSUED THIS
Sth day of June, 2011
GARY FITZSIMMONS

Clerk District Courts,
Dallas County, Texas

By: SACHEEN ANTHONY, Deputy

 

 

Aitorney for Plaintiff
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GARY FITZSIMMONS

DISTRICT CLERK GEORGE ALLEN SR COURT
103

600 COMMERCE ST

DALLAS, TX 75202-4683

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Return Receipt (Electronic)

DC117143 SA

DAVID FREEMAN
139 N THEARD ST
COVINGTON, LA 70433-2831

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